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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

                                                  ***

    UNITED STATES OF AMERICA,                      )
                                                   )
                    Plaintiff,                     )
                                                   )
                        vs                         )
                                                   )
                                                   )
           THEODORE HOLMES,                                2:21-CR-00166-4-SM
                                                   )
                                                   )
                   Defendant.                              ORDER APPOINTING COUNSEL
                                                   )




                The individual named below, having testified under oath or having otherwise

 satisfied this Court that he (1) is financially unable to employ counsel and (2) does not wish

 to waive counsel, and, because the interests of justice so require, the Court finds that the

 Defendant is indigent, therefore;

                IT IS ORDERED that TOWNSEND M. MYERS, ESQ. is hereby appointed

 to represent Defendant, THEODORE HOLMES.

           New
          New  Orleans,
              Orleans,   Louisiana
                       Louisiana,    this
                                  this    1st day
                                       ______  dayofofDecember, 2021.
                                                       _________2021.




                                             _______________________________________

                                                          DONNA PHILLIPS CURRAULT
                                                       UNITED STATES MAGISTRATE JUDGE
